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 5

 6                              UNITED STATES DISTRICT COURT
 7                                      DISTRICT OF ARIZONA
 8

 9
     Dominique Rose,
                          Plaintiff,
10
     v.
11                                                               Case No.: 2:15-cv-02562
12   Dalton Corporation d/b/a Chica’s Cabaret,               DEFENDANTS’ MOTION FOR
     Regina Scott, Phillipe Howery, and Jose                   SUMMARY JUDGMENT
13
     Navaoruz
14

15                        Defendants

16

17
            Defendants move for summary judgment pursuant to Fed.R.Civ.P 56(a) on the grounds
18
     that Dalton Corporation was not an enterprise engaged in commerce during the time
19
     encompassed by Plaintiff’s claims, and therefore, she cannot establish essential elements of her
20
     Fair Labor Standards Act and Arizona Minimum Wage Act claims. Defendants Scott and
21
     Howery also move for summary judgment on the grounds that they are not “employers” subject
22
     to suit under state and federal law.
23
            This motion is supported by the attached memorandum of points and authorities and
24
     separate statement of facts and exhibits filed herewith, and incorporated by reference.
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 1                     MEMORANDUM OF POINTS AND AUTHORITIES
 2
            This is a wage dispute arising under the Fair Labor Standards Act (FLSA) and Arizona
 3   Minimum Wage Act. This motion addresses Plaintiff’s claims for minimum wage and
 4   overtime payment, and the lack of “employer” status attributable to Defendants Scott and
 5   Howery.

 6          First, the FLSA “imposes its requirements, not on every ‘enterprise,’ but only on an
     ‘enterprise engaged in commerce or in the production of goods for commerce.’ One of the
 7
     statutory elements of the latter term is the dollar-volume limitation, which in this case is
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     $500,000 annually.” Falk v. Brennan, 414 US 190, 197 (1973); see also, 29 U.S.C. 203(s)(1),
 9
     206(a), and 207(a)(1). Likewise, an Arizona “small business” that earns less than $500,000
10
     in gross revenue annually is excluded from the definition of an “employer.” A.R.S. 23-362
11   (B)-(C). Here, Dalton Corporation did not have annual gross revenue of $500,000 during the
12   time covered by this action.1
13          Second, Scott and Howery were not “employers” under the FLSA or Arizona law

14
     because they were neither exercised sufficient control over the nature and structure, nor
     economic control, over Plaintiff’s relationship with Dalton Corporation.
15

16                                      SUMMARY OF FACTS
17
     Background
18          Dalton Corporation is an Arizona corporation and has operated a nightclub at 2802 N.
19   35th Ave. since 1997—first known as “Mustang Sally’s” and currently as “Chicas Cabaret.”
20   (SOF 1) The club is classified as an “adult cabaret” by the City of Phoenix, Phoenix Code

21   Sec. 10-131(2), because it offers topless dancing. (SOF 2).
            Before working at an adult cabaret, dancers must be licensed annually by the City as
22
     an “adult cabaret performer.” (SOF 2, 8), see Phoenix Code Sec. 10-131(3) and 133(B) and
23

24
     1
25     The complaint was filed December 16, 2015. (Doc # 1). Assuming the state and federal maximum
     limitations period of 3-years applies, claims occurring before December 16, 2012 are barred. 29
     U.S.C. 255(a), A.R.S. 23-362.
                                                     2
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 1   137(A). Phoenix and Arizona Alcohol Control Board rules dictate standards for both “adult
 2   cabarets” and “adult cabaret performers.” (SOF 7), see., A.A.C. R19-1-308, 309 (performer
 3   age limits and conduct); Phoenix Code Sec. 10-148(A) (authorization to work, orientation,

 4
     and conduct of performers and managers), and (B) (recordkeeping, including dates and times
     a performer works). Section (C) of the ordinance requires regular submission of rosters to the
 5
     City listing all performers authorized to work at the club. (SOF 10).
 6
            The club is subject to inspection at any time by City and Alcohol Control Board
 7
     authorities, and the failure of a manager to follow their rules can lead to fines and
 8
     suspension or revocation of the club’s cabaret and/or liquor license. (SOF 6).
 9
            The club enforces City and State regulations regarding performer conduct, as well as
10   health and safety standards, but has few “work rules” for performers (other than those
11   required by regulation) such as fighting or theft. (SOF 6, 12). The club does not restrict
12   performers from working at other clubs, or limit their breaks, or require performers to work

13
     any set schedule. (SOF 11, 12).
            Only Chicas’ customers pay performers to dance, either by tipping them on stage, or
14
     paying cash for individual performances. (SOF 14). Performers retain custody and control of
15
     all money received from customers and pay an agreed license fee when finished working for
16
     the day. (SOF 14).
17          Daily reports kept by the club show Plaintiff first presented her license and worked on
18   May 20, 2014. (SOF 16). Her work authorization notice was submitted to the City the
19   following day. (Id.) During 2014, she worked a total of approximately 30 hours over eight

20   days at the club, the last being October 24, 2014. (Id.). Defendants have no other record of
     Plaintiff performing at the club. (Id.)
21
            Plaintiff’s complaint, at paragraph 24, states she worked as a dancer at the nightclub
22
     from “approximately January 1, 2011 and April 30 2014, when Plaintiff left her employment
23
     with Defendants.” (Doc #1 ¶ 24).
24

25


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 1   Dalton Was Not an Enterprise Engaged in Commerce
 2          Dalton’s annual volume of business, based on federal tax returns for 2011 thru 2014,
 3   was: 2011--$268,677; 2012--$135,932; 2013--$153,357; and 2014--$542,671. (SOF 3).

 4
     Most of the sales in 2014 ($371,835) occurred in the third quarter of that year as a result of
     club remodeling, increased advertising, and numerous special events. (SOF 4).
 5
     Scott and Howery Were Not “Employers”
 6
            During the time covered by this action, Defendants Regina Scott and Phillipo Howery
 7
     worked as licensed “adult cabaret” managers at the club during the relevant time period.
 8   (SOF 5, 6). Each was paid a salary and neither had an ownership interest in Dalton
 9   Corporation. (SOF 17).
10          Their duties included receiving and paying for deliveries and supplies, overseeing and

11   assisting bar and security employees, and enforcement of City and State regulations. (SOF 6,
     18). They also regularly granted performers access to the club and its customers upon
12
     presentation of a license and other information required by City regulations, and agreement to
13
     pay the daily fee. (SOF 8, 9, 11). Because performers choose the dates and times they work,
14
     the club does not limit their numbers. (SOF 11). In 2014, for example, more than 200
15
     performers were granted access, but far fewer worked on any given day or time. (SOF 11).
16          Once hired, the performer receives an orientation from the manager as required by
17   City rules, and when she works, the manager records her beginning and ending times and
18   collects the house fee when she leaves. (SOF 9), see, Phoenix Code 10-148(B). Managers

19
     also terminate performers from time to time, primarily for violation of applicable conduct
     rules, and to a lesser degree, for things such as license revocation, theft, or fighting. (SOF 15).
20
            However, it was Dalton’s president and shareholders that determined all economic
21
     matters such as house fees, cover charges, bar prices and special events. (SOF 5).
22
                                          LEGAL ANALYSIS
23
      Defendant Dalton Corporation Was Not An
24    Enterprise Engaged in Interstate Commerce
25          Both the minimum wage and overtime provisions of the FLSA apply only to
     employees "engaged in [interstate] commerce or in the production of goods for
                                                     4
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 1   commerce, or ... employed in an enterprise engaged in commerce." 29 U.S.C. 203(b),
 2   206(a), 207(a)(1). As noted above, enterprises with an annual dollar volume less than
 3   $500,000 are not covered under federal or Arizona wage laws. 29 U.S.C. 203(s)(1),
 4   A.R.S. 23-362 (B)-(C).

 5          According to Department of Labor regulations applicable computing the annual dollar
     volume, “In order to determine, when there may be doubt, whether an enterprise or
 6
     establishment has an annual gross volume of sales…in excess of the amount specified in the
 7
     [FLSA],” the employer must undertake a 12-month “look back” at the end of each quarter to
 8
     determine coverage. 29 C.F.R. 779.266(b).
 9
            Where, as here, the enterprise exceeds the required threshold in a given quarter,
10   coverage under the FLSA begins the first of the month following that quarter. Id. at 779.268.
11   Dalton Corporation did not exceed $500,000 annual sales until the end of the third calendar
12   quarter of 2014, and it was not covered by the FLSA or Arizona’s Minimum Wage Act until

13
     November 1, 2014.
       Dalton’s Managers Didn’t Exercise Control
14
       Sufficient to Qualify as FLSA “Employers”
15
            Existence of a FLSA “employer-employee” relationship does not depend on "isolated
16
     factors but rather upon the circumstances of the whole activity" Boucher v. Shaw, 572 F. 3d
17
     1087, 1091 (9th Cir. 2009) (citations omitted). Where an individual exercises control over the
18   nature and structure of the employment relationship, or economic control over the
19   relationship, that individual is an employer within the meaning of the Act. Lambert v.
20   Ackerley, 180 F.3d 997, 1012 (9th Cir.1999).

21          However, these “control” concepts are not applied in a manner that makes all
     managers and supervisors of an enterprise culpable “employers” under the FLSA. See,
22
     Baystate Alternative Staffing, Inc. v. Herman, 163 F. 3d 668, 679 (1st Cir. 1998), cf., Bonnette
23
     v. California Health and Welfare Agency, 704 F.2d 1465, 1470 (9th Cir. 1983) (factors
24
     provide a useful framework for analysis, but they are not etched in stone and will not be
25
     blindly applied). As stated in Baystate Alternative Staffing, Inc. v. Herman,

                                                    5
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 1          If…the significant factor in the personal liability determination is simply the
            exercise of control by a corporate officer or corporate employee over the "work
 2
            situation," almost any supervisory or managerial employee of a corporation could be
 3          held personally liable for the unpaid wages of other employees and the civil penalty
            related thereto. We adhere to the view expressed in [Donovan v. Agnew, 712 F.2d
 4          1509 (1st Cir. 1983)] that such an expansive application of the definition of an
            "employer" to a personal liability determination pursuant to the FLSA is untenable.
 5

 6   Id. at 679. The wisdom of this caveat is clearly applicable to a case, like this, involving a
     highly regulated business.
 7
            Although Scott and Howery had authority to hire and fire performers, supervise their
 8
     conduct, and keep required records related to their attendance, City of Phoenix regulations
 9
     minutely controlled their actions. Stated another way, they did not exercise any real “control
10
     over the nature and structure of the employment relationship” between the club and
11   performers.
12          As one has court has put it, “neither requiring a worker to comply with federal and
13   state law nor compliance with insurance requirements can be competent evidence

14
     of control…[nor is] a putative employer requiring workers to meet mandatory regulations”
     evidence of control in a highly regulated business. Giltner, Inc. v. Idaho Dept. of Commerce
15
     and Labor, 145 Idaho 415,179 P.3d 1071, 1075 (2008)(footnote and citation omitted).
16
            Likewise, neither Scott nor Howery exercised economic control over the performers’
17
     relationship with the club. First, they had no ownership interest in the club. Second,
18   performers choose to obtain a license, the place where they work, the dates and times they
19   work, how many breaks they take at work, and whether they want to drink while at work.
20   Third, Dalton’s owners control the economic relationship with performers, including setting

21   the house fee and policies concerning its collection.
            Compare the duties of Scott and Howery to managers in Lambert v. Ackerly, where the
22
     Ninth Circuit upheld a finding of liability against a chief operating officer and a chief
23
     executive officer where the officers had a significant ownership interest with operational
24
     control of significant aspects of the corporation's functions; the power to hire and fire
25
     employees; the power to determine salaries; and the responsibility to maintain employment

                                                     6
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 1   records. Id. at 1001-02, 1012; see also, Riordan v. Kempiners, 831 F.2d 690, 694 (7th
 2   Cir.1987) (the individual’s control of the enterprise and responsibility “in whole or part for
 3   the alleged violation” that is of central concern). Scott and Howery were not Plaintiff’s

 4
     “employers.”
            WHEREFORE, Defendants ask the Court to grant summary judgment dismissing all
 5
     claims against Ms. Scott and Mr. Howery, as well as claims designated Counts 1-4 of
 6
     Plaintiff’s complaint.
 7
     Dated: February 17, 2017
 8                                                       ALLEN LAW FIRM
 9
                                                         /s/ William P. Allen

10   I hereby certify that on Feb.
     17, 2017, I electronically
11   filed this document with
     the Arizona District Court Clerk
12

13   COPY of the foregoing served
     electronically Feb. 17, 2017 on
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